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6    Los Angeles, CA 90071
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8    Attorneys for Plaintiffs
     MOSAFER INC.;
9    MOSAFER E-COM, INC.;
     AND GOMOSAFER
10

11
                           UNITED STATES DISTRICT COURT
12
                          CENTRAL DISTRICT OF CALIFORNIA
13
                                   WESTERN DIVISION
14

15   MOSAFER INC.; MOSAFER E-                CASE No. 2:21-cv-06320 MCS (JCx)
     COM, INC.; and GOMOSAFER,
16                                           PLAINTIFFS’ EX PARTE
                             Plaintiffs.     APPLICATION FOR ORDER
17                                           DIRECTING U.S. MARSHALS TO
            vs.                              EFFECT SERVICE OF PROCESS
18                                           AGAINST DEFENDANT GEORGE
     ELLIOT BROIDY; GEORGE                   NADER
19   NADER; BROIDY CAPITAL
     MANAGEMENT, LLC;                        Judge: Hon. Mark C. Scarsi
20   CIRCINUS, LLC; THE IRON                 Courtroom: 7C
     GROUP INC. D/B/A
21   IRONISTIC.COM; SCL SOCIAL
     LIMITED; PROJECT
22   ASSOCIATES UK LTD;
     MATTHEW ATKINSON; and
23   JOHN DOES 1-100,
24
                        Defendants.
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                  EX PARTE APPLICATION RE SERVICE ON DEFENDANT NADER
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1    TO THE COURT, ALL PARTIES, AND THEIR ATTORNEYS OF RECORD:
2          PLEASE TAKE NOTICE that Plaintiffs MOSAFER, INC., MOSAFER E-
3    COM. INC and GOMASAFER (collectively, “Plaintiffs”) by and through its attorneys
4    of record will and hereby do, move ex parte for an order directing the United States
5    Marshals to serve the summons and related documents on Defendant GEORGE
6    NADER (“Nader”).
7          1.     Rule 4(c) of the Federal Rules of Civil Procedure provides that “the court
8    may order that service be made by a United States marshal or deputy marshal.”
9          2.     Plaintiffs seek relief on an emergency basis in order to comply with this
10   Court’s first standing order to “promptly serve the complaint” and because they would
11   otherwise have limited time to comply with Rule 4(m) of the Federal Rules of Civil
12   Procedure.
13         3.     In January 2020, Nader pleaded guilty to federal felony charges and was
14   sentenced to ten (10) years in prison. He is currently in the custody of the U.S. Marshals
15   and is being housed in state facility in the Commonwealth of Virginia, the Alexandria
16   Detention Center located at 2001 Mill Road, Alexandria, Virginia, 22314 (“Detention
17   Center”). His Bureau of Prisons Registry No. is 17310-083.
18         4.     As set forth in the accompanying Declaration of Koren L. Bell, Counsel
19   for Plaintiffs have contacted the Detention Center and the Alexandria County Sheriff’s
20   Office in order to coordinate service of process on Nader. The Detention Center has
21   confirmed that Nader is currently being held in their facility, but has stated that he is in
22   the custody of the U.S. Marshals. The Detention Center directed counsel for Plaintiffs
23   to effect service of process through the U.S. Marshals.
24         5.     As further set forth in the accompanying Declaration of Koren L. Bell,
25   Plaintiffs make this application after providing notice to known counsel pursuant to
26   Local Rule 7-19.1. Specifically, Plaintiffs contacted counsel for the Defendants Elliot
27   Broidy, Broidy Capital Management, LLC, and Circinus, LLC, and on August 18, 2021.
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                    EX PARTE APPLICATION RE SERVICE ON DEFENDANT NADER
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1    Counsel for Defendants responded on August 20, 2021 and stated that they do not object
2    to Plaintiffs’ ex parte application.
3          6.     Counsel for the opposing parties, Defendants Elliot Broidy, Broidy Capital
4    Management, LLC, and Circinus, LLC, are listed below:
5                        Michael Francisco
6
                         George J. Terwilliger III
                         Kevin Lally
7                        McGuireWoods LLP
8                        888 16th Street N.W. , Suite 500
                         Washington, DC 20006
9                        Tel: 202-857-1722
10                       Email: mfrancisco@mcguirewoods.com;
                         gterwilliger@mcguirewoods.com;
11                       klally@mcguirewoods.com

12
           7.     Plaintiffs also contacted counsel of record in Nader’s criminal matter on
13
     August 16, 2021 to inquire whether they would accept service on his behalf. Nader’s
14
     criminal counsel responded on August 18, 2021 and stated that they do not represent
15
     Nader in this action and were not authorized to accept service on his behalf, while
16
     inviting Plaintiffs to check back in another week to determine if there had been any
17
     change in status. Criminal counsel for Nader is listed below.
18
                         Jonathan S. Jeffress
19                       Emily Anne Voshell
                         Courtney Roberts Forrest
20
                         KaiserDillon PLLC
21                       1099 14th Street, NW, 8th Fl. West
                         Washington, DC 20005
22
                         Tel: (202) 640-4430
23                       Fax: (202) 280-1034
                         Email: jjeffress@kaiserdillon.com;
24
                         evoshell@kaiserdillon.com;
25                       cforrest@kaiserdillon.com

26                       John N. Nassikas III (#24077)
27                       Andrew E. Talbot (#93801)
                         Arnold & Porter Kaye Scholer LLP
28                       601 Massachusetts Ave., NW
                                             -3-
                    EX PARTE APPLICATION RE SERVICE ON DEFENDANT NADER
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1                       Washington, DC 20001
2
                        Tel: (202) 942-5000
                        Fax: (202) 942-5999
3                       Email: John.Nassikas@arnoldporter.com
                        andrew.talbot@arnoldporter.com
4

5          8.     Pursuant to Local Rule 7-19.2, Plaintiffs request this Court find that the
6    interests of justice require that the ex parte application be heard without notice to any
7    counsel that may be representing Nader, unbeknownst to Plaintiffs, in this action.
8          9.     Pursuant to Local Rule 7-19.1, Plaintiffs state that they have made a
9    reasonable, good faith effort to effect service of process through alternative avenues by
10   coordinating with the Detention Center. However, the Detention Center has directed
11   Plaintiffs to effect service on Nader through the U.S. Marshals.
12         10.    Plaintiffs’ request is based upon this application, the supporting
13   memorandum of points and authorities, the Declaration of Koren L. Bell, all records
14   and pleadings on file with this Court, and such further evidence and argument as may
15   be presented at or before this time of any hearing on this application.
16

17   DATED: August 20, 2021                        LARSON LLP
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19
                                                By: /s/ Koren L. Bell
20                                                 Stephen G. Larson
21                                                 Koren L. Bell
                                                   Paul A. Rigali
22                                                 Jonathan D. Gershon
23                                                 Attorneys for Plaintiffs MOSAFER
                                                   INC., MOSAFER E-COM, INC.,
24
                                                   and GOMOSAFER
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                   EX PARTE APPLICATION RE SERVICE ON DEFENDANT NADER
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1                   MEMORANDUM OF POINTS AND AUTHORITIES
2           Plaintiffs MOSAFER, INC., MOSAFER E-COM. INC and GOMASAFER
3    (collectively, “Plaintiffs”) respectfully ask this Court to issue an order directing the
4    United States Marshals to serve the summons and related documents on Defendant
5    GEORGE NADER (“Nader”).
6           A party making an ex parte application must establish that it will be prejudiced
7    absent ex parte relief, and that it is “without fault in creating the crisis requiring ex parte
8    relief.” Mission Power Eng’g Co. v. Continental Cas. Co., 883 F. Supp. 488, 492 (C.D.
9    Cal. 1995).
10          This Court has the authority to issue Plaintiffs requested relief pursuant to Rule
11   4(c) of the Federal Rules of Civil Procedure, which provides that “the court may order
12   that service be made by a United States marshal or deputy marshal.”
13          Here, there is good cause for the requested ex parte relief. Absent an order from
14   the Court directing the U.S. Marshals to effect service, Plaintiffs, through no fault of
15   their own, will be prejudiced, as they may be unable to “promptly serve the complaint”
16   on Nader, consistent with this Court’s standing order. In particular, the Alexandria
17   Detention Center, where Nader is currently incarcerated, has directed Plaintiffs to effect
18   service through the U.S. Marshals.
19          For the foregoing reasons, Plaintiffs respectfully request that the Court grant their
20   ex parte request for an order directing the U.S. Marshals to serve Nader.
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                    EX PARTE APPLICATION RE SERVICE ON DEFENDANT NADER
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1    DATED: August 20, 2021                  LARSON LLP
2

3
                                          By: /s/ Koren L. Bell
4
                                             Stephen G. Larson
5                                            Koren L. Bell
                                             Paul A. Rigali
6
                                             Jonathan D. Gershon
7                                            Attorneys for Plaintiffs MOSAFER
                                             INC., MOSAFER E-COM, INC.,
8
                                             and GOMOSAFER
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                EX PARTE APPLICATION RE SERVICE ON DEFENDANT NADER
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1                                    PROOF OF SERVICE
2

3          At the time of service, I was over 18 years of age and not a party to this action.
     I am employed in the County of Los Angeles, State of California. My business
4    address is 555 South Flower Street, Suite 4400, Los Angeles, CA 90071. My email
     address is nmorales@larsonllp.com
5
            On August 20, 2021, I served true copies of the following document(s)
6    described as PLAINTIFFS’ EX PARTE APPLICATION FOR ORDER
     DIRECTING U.S. MARSHALS TO EFFECT SERVICE OF PROCESS
7    AGAINST DEFENDANT GEORGE NADER on the interested parties in this action
     as follows:
8
                              SEE ATTACHED SERVICE LIST
9
           BY E-MAIL OR ELECTRONIC TRANSMISSION: I caused a copy of the
10   document(s) to be sent from e-mail address nmorales@larsonllp.com to the persons at
     the e-mail addresses listed in the Service List. I did not receive, within a reasonable
11   time after the transmission, any electronic message or other indication that the
     transmission was unsuccessful.
12
           I declare under penalty of perjury under the laws of the United States that the
13   foregoing is true and correct.
14         Executed on August 20, 2021, at Los Angeles, California.
15

16

17                                                Nannette Morales
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                   EX PARTE APPLICATION RE SERVICE ON DEFENDANT NADER
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1                                  SERVICE LIST
2

3    Michael Francisco                   Attorneys for Defendants Elliot Broidy,
     George J. Terwilliger III           Broidy Capital Management, LLC and
4                                        Circinus, LLC
     Kevin Lally
5
     McGuireWoods LLP
6    888 16th Street N.W. , Suite 500
     Washington, DC 20006
7
     Tel: 202-857-1722
8    Email: mfrancisco@mcguirewoods.com;
     gterwilliger@mcguirewoods.com;
9
     klally@mcguirewoods.com
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                EX PARTE APPLICATION RE SERVICE ON DEFENDANT NADER
